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                         9UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 MALIBU MEDIA, LLC,                        )
                                           )
       Plaintiff-Judgment Debtor/          )
 Citation Respondent,                      )
                                           )
                    v.                     )
                                           )
 WILLIAM MULLINS,                          )   No. 18 C 6447
                                           )
        Defendant-Judgment Creditor,       )   Judge Thomas M. Durkin
                  and                      )
                                           )
 COLETTE PELISSIER,                        )
                                           )
       Third-party representative of       )
 the corporate citation respondent.        )

                       ORDER ON OMNIBUS
                MOTION FOR TURNOVER ORDER AND
            OTHER DECLARATORY AND INJUNCTIVE RELIEF

      This matter is before the court on judgment creditor William Mullins’ Omnibus

Motion for Turnover Order, etc. Dkt 125. The court previously issued an asset

restraining order (Dkt. 117), and the Omnibus Motion seeks permanent relief in the

form of a turnover order from assets found in the possession of Epoch.com, LLC.

Epoch is withholding from payment what the court’s restraining order defines as “X-

Art.com Proceeds.” Pursuant to the restraining order, Malibu Media and ZO Digital

were also required to produce documents and restrain X-art.com Proceeds, but they

failed to do so. The Omnibus Motion seeks a declaration of rights, a turnover order,

and further injunctive relief, including a procedure for the award of statutory
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penalties. Epoch filed an appearance, but Malibu Media, Zo Digital, Colette Pelissier,

and Brigham Field neither filed an appearance through counsel nor appeared

individually at the October 8, 2021, hearing, despite one week’s notice. Dkt. 127

(certificate of service). Being fully advised by the motion and the arguments of

counsel at a hearing that was held on October 7 and October 8, 2021,

      THE COURT HEREBY FINDS THAT:

      The court entered a $48,656.73 judgment for prevailing defendant William

Mullins pursuant to the Copyright Act 17 U.S.C. § 505. Malibu Media opposed an

award of fees. The district court premised its award on the fact that Malibu Media

“repeatedly refused to turn over specific information” undergirding its claims, and

that rendered plaintiff’s complaint frivolous and objectively unreasonable. The court

found and ordered a monetary award to both to compensate Mullins’ injury, defending

a meritless claim, and inversely to deter Malibu Media (who has filed thousands of

such lawsuits as the one Mullins was forced to defend). Dkt. 99. The court’s judgment

unfortunately did not deter Malibu Media from continuing to be sphinxlike and

unresponsive in the face of court process.

      Malibu Media ignored Mullins’ demand for payment of the judgment. Dkt. 110

at p. 7. Mullins then obtained a citation to discover assets, designating Colette

Pelissier as the corporate representative of Malibu Media, and Mullins served Malibu

Media with the citation on April 20, 2021. Id. (exhibit reproducing the demand,

refusal, and consequent citation to discover assets served by agreement).




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      Over the course of the next four months—May through August 2021—Pelissier

(on behalf of the judgment debtor) proceeded to carry out a series of “dodges” to make

it appear as though Malibu Media was cooperating with Mullins’ asset investigation.

However, Pelissier was actively undermining that investigation by not providing any

documents and by diverting Malibu Media’s assets to her husband Brigham Field’s

business, ZO Digital, LLC.

      Mullins uncovered Malibu Media’s asset diversion and via an ex parte motion

(Dkt. 115) obtained a restraining order from the district court.     Dkt. 117.    The

restraining order was directed to Malibu Media, ZO Digital, and Epoch.com, LLC.

Epoch processes credit transactions for Malibu Media’s website, X-Art.com and

paying them to ZO Digital. The order further restrained the “X-Art.com Proceeds”—

defined as “the proceeds of X-Art.com’s website’s commercial activity” (id. at ¶ 5)—

and required the enjoined parties to produce specified documents and specified

interrogatories. Id. at ¶¶ G and K.

      As required by the court’s Asset Restraining Order, Epoch provided documents

and sworn answers to interrogatories, but Malibu Media and ZO Digital have not

provided documents and have not provided sworn answers to interrogatories in the

period the Asset Restraining Order allowed.

      ZO Digital moved to vacate the Asset Restraining Order. Dkt. 120. Mullins

addressed ZO Digital’s attack on the court’s restraining order and showed that ZO

Digital claimed no ownership interest in either the X-Art.com copyright material or

ownership in the X-Art.com Proceeds. Mullins Response, Dkt. 123 at pp. 7-8. Mullins



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further demonstrated that ZO Digital is in any case a subordinate claimant to

Mullins’ status as a judgment lien creditor. Id.

      Regarding Malibu Media, since being served with Asset Restraining Order on

August 14, 2021, Pelissier “filed” a dilatory extension motion on behalf of Malibu

Media, claiming it needed time to find an attorney.   See Dkt. 123, Mullins’ Response

at p. 3 (describing Pelissier’s efforts to avoid testifying) and at pages 23-35 (the

“motion” Pelissier emailed to Mullins but did not file with the court).       As to the

allegation that it was diverting assets, Pelissier’s “motion” states that “neither I nor

Malibu Media have hidden, nor diverted assets . . . . ” Id. at 33. However, Pelissier

does not address or try to explain the fact that despite having no ownership interest

in either the X-Art.com copyright material or in the X-Art.com Proceeds, ZO Digital

nonetheless collects 100% of those proceeds.

      In its sworn answer, Epoch states that when served with the Asset Restraining

Order and with respect to “any account connected with X-Art.com,” it possessed “a

merchant processing account denominated in Epoch’s books and records as account

number M-392148 in the name of ZO Digital…” and under the applicable contract

had been paying ZO Digital weekly (on Thursdays). Exhibit A, Epoch’s Amended

Answer at p. 1. Epoch’s answer further states that, through September 21, 2021, it

“has restrained a total of $22,062.19.”   Id.

      Epoch produced documents showing that from about 2013 to 2017, that same

merchant account (M-392148) was in the name of Malibu Media and that previous




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contract specified Epoch was to make the weekly payments to a Malibu Media-

denominated bank account at Bank of America.

      The documents further confirm that on March 3, 2017, Malibu Media made a

100% assignment of its Epoch contract rights to ZO Digital; the 2017

assignment/contract specified a ZO Digital-denominated bank account at Wells Fargo

Bank into which Epoch was to make the weekly deposits. The 2017 contract does not

specify the consideration for the assignment only that it was “[f]or good and valuable

consideration, the receipt of which is hereby acknowledged.”

      Both in the documents it produced and as confirmed by Epoch, from 2017 until

August 14, 2021, when it was served with the Asset Restraining Order, there was no

change in the identified depository bank (Wells Fargo) or identified bank account

owner (ZO Digital) into which Epoch deposited the weekly X-Art.com net proceeds.

      Epoch’s books and records did not indicate the existence of any party, including

Epoch, that claimed a lien in or otherwise asserted a security interest against the X-

Art.com Proceeds.    No party filed a claim (lien or otherwise) against X-Art.com

Proceeds in the time allotted by the court. Dkt. 117, Asset Restraining Order, ¶¶ G

and K.

      Epoch’s books and records indicate that between February 17, 2021, when this

court entered its judgment, and August 14, 2021, when it was served with the

restraining order, Epoch paid ZO Digital a total of $125,397.07 (net of fees and

charges) from the X-Art.com Proceeds. Moreover, from the time Mullins served

Malibu Media with a citation to discover assets—April 20, 2021, and a judgment lien



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arose as a matter of law on all Malibu Media assets, Epoch paid ZO Digital $83,210.64

(which is a subset of the previously stated $125,397.07 and which Epoch paid out

from 4/22/21 through 8/12/21). Id. ZO Digital received, post-citation, $83,210.64 in

funds encumbered by Mullins’ judgment lien and to which Mullins had and has a

superior interest.

      ACCORDINGLY, IT IS HEREBY DECREED AND ORDERED that the

judgment creditor’s Omnibus Motion is GRANTED and specifically

ORDERED that:

      Declaratory Relief as to the X-Art.com Proceeds

      1.     In his motion seeking a restraining order, Mullins asserted that the X-

Art.com Proceeds were the property of Malibu Media, and he supported the factual

assertion with citations to sworn testimony by Colette Pelissier and Brigham Field.

Third Declaration of Counsel, ¶¶9-14 (Dkt. 115 at p. 18). On that record, the court

granted the restraining order finding that there was good reason to believe that

Mullins would likely succeed on the merits of its assertion that the X-Art.com

Proceeds belonged to Malibu Media. Dkt. 117, Asset Restraining Order at ¶¶ 7-10.

      2.     Neither Malibu Media nor ZO Digital contested the fact that the X-

Art.com Proceeds are Malibu Media’s property. Both Pelissier (on behalf of Malibu

Media) and Field (on behalf of ZO Digital) submitted and/or filed pleadings in this

matter after being served with the court’s Asset Restraining Order. See ZO Digital’s

Motion to Vacate or alternatively for an extension of time (Dkt. 120)) and Malibu

Media’s “motion to continue or extend time.” Dkt. 123, pages 23-35 (Pelissier emailed



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the “motion” to the undersigned (rather than filing with the court). Neither filing

contested the fact that the X-Art.com Proceeds are Malibu Media’s property, and

therefore Malibu Media and Zo Digital both conceded the issue. In citation

proceedings, “’a frivolous motion buys the movant no time.’” Divane v. Krull Elec.

Co., 194 F.3d 845, 849 (7th Cir. 1999) (quoting Resolution Tr. Corp. v. Ruggiero, 994

F.2d 1221, 1227 (7th Cir. 1993).

      3.        The documents provided by Epoch support the conclusion that the X-

Art.com Proceeds are Malibu Media’s property. See supra ¶¶ 9-11. From about 2013

to 2017, the merchant account for X.Art.com, and the direction to pay its net revenue,

were both in the name of Malibu Media consistent with Pelissier and Field’s prior

sworn statements regarding ownership of the website copyrighted material. The

March 2017, assignment of 100% of the website’s revenue from Malibu Media to ZO

Digital did not discuss or provide for a change in ownership; and, as indicated in the

previous paragraph, neither Pelissier nor Field has even suggested the 2017

agreement represented a change in the ownership of X.Art.com or the revenue stream

it generated.

      4.        Based on the foregoing, the district court finds, declares, and rules as

follows:

                   a. Throughout all times relevant to this dispute up to the present,
                      Malibu Media has been the fee simple owner of both the
                      copyrighted material offered via the X-Art.com website and the
                      resulting X-Art.com Proceeds.
                   b. Since it served Malibu Media with a citation to discover assets on
                      April 20, 2021, Mullins acquired an execution lien on the X-

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                    Art.com Proceeds, including the net proceeds Epoch pays under
                    its contract with the owner of the merchant processing account
                    denominated in its records as account number M-392148.
                c. Since April 20, 2021, Mullins’ execution lien has been and is a
                    priority lien in and on the X-Art.com Proceeds because no other
                    party is known to have asserted a lien or other claim against the
                    X-Art.com Proceeds.
      5.     The court grants the injunctive relief set out below based on the

foregoing declarations of legal rights and as specified below.

      In re Epoch.com, LLC

      6.     Epoch’s sworn answer and documents indicate that under its contract

governing the processing of X-Art.com Proceeds, it is obligated to pay “on a weekly

basis the Net Client Payment as that term is defined in the applicable contract.”

Exhibit A, p. 1. Exhibit B (spreadsheet showing weekly draws). They further indicate

that Epoch accumulated five weekly payments through September 16, 2021, that

total $22,062.19. Ex. B.

      7.     Consequently, given the funds it holds belong to Malibu Media and are

subject to Mullins’ judgment lien, Epoch shall turn over to Mullins the accumulated

net weekly payments, which Epoch reports is $35,194.40 through October 7, 2021.

Thereafter, on a weekly basis, Epoch shall continue to withhold the prior week’s “Net

Client Payment” pursuant to the Asset Restraining Order. Beginning October 14,

2021, Epoch shall identify the account’s gross revenue, and all fees and withholdings

that resulted in the “Net Client Payment” in a report emailed to the judgment




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creditor’s counsel each week within 5 business days of October 14, 2021, and within

5 days of each Thursday thereafter.

      8.     Epoch shall issue payments to: “The Peacock Law Group Client Trust

Fund Account” and tender such payments in the manner set forth in paragraph I of

the court’s Asset Restraining Order and do so within five business days of coming due

under the contract.

      In re ZO Digital

      9.     Since the entry of judgment (2/17/21) and the initiation of

supplementary proceedings (4/20/21), ZO Digital has received a total of $125,397.07

of which $83,210.64 was and is subject to Mullins’ judgment lien. Omnibus Motion,

¶¶ 13-14.

      10.    Since it was served with the Asset Restraining Order on August 14,

2021, ZO Digital, a designated “Enjoined Party” (Dkt. 117 at ¶ A) under the court’s

restraining order, appeared through Brigham Field. Dkt 120 at p. 1 (identifying Field

as the “third part representative” of Zo Digital). Field, on behalf of ZO Digital,

submitted a dilatory motion to vacate the restraining order, but Field otherwise:

             a. failed to produce required documents (id. at G) including documents
                relating to the X-Art.com Proceeds, the Epoch.com, LLC merchant
                account, the CoinPayments merchant account, and the Wells Fargo
                Bank account into which Epoch has deposited over $125,000 of
                money identified in the restraining order as the kind of X-Art.com
                Proceeds subject to restraint. Dkt. 117 at ¶ 5




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               b. failed to file a required sworn answer (id. at K), including identifying
                  X-Art.com Proceeds in its possession at Wells Fargo Bank and at
                  CoinPayments.
               c. failed to retain counsel willing to file an appearance in this matter.
      11.      Based on the foregoing ZO Digital is in default of multiple obligations

under the asset restraining order. ZO Digital’s Motion to Vacate or alternatively for

an extension of time (Dkt. 120) is denied for the reasons set forth at the October 8,

2021, hearing.

      12.      Because of its default, ZO Digital is barred from further making any

objection in these proceedings unless and until ZO Digital: (1) appears by an attorney;

(2) restores all diverted funds, making those funds available for the satisfaction of

Mullins’ judgment; (3) produces all documents specified in the asset restraining order;

and (4) files a sworn answer as specified in the asset restraining order.

      13.      The court further finds and declares that ZO Digital’s failure to obey this

court’s order to produce documents and restrain funds has injured Mullins.

      14.      To remedy the injury caused by ZO Digital’s disobedience, the court

orders that:

                  a. A conditional judgment in the amount of $51,333 is entered
                     against ZO Digital. Fed. R. Civ. P 69; 735 Ill. Comp. Stat. § 5/12-
                     706 (providing “court may enter a conditional judgment against
                     the garnishee for the amount due upon the judgment against the
                     judgment debtor”)).




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                b. A rule is issued to Brigham Field, as the designated
                   representative of ZO Digital, to show cause why he should not be
                   held in contempt of court for failing to produce documents and
                   submit an answer identifying the funds ZO Digital has
                   restrained. If Field fails to show cause and fails to comply with
                   paragraph 14.c., the court shall hold Field in civil contempt of
                   court.
                c. Field, on behalf of Zo Digital, shall turn over to the Clerk of Court
                   to hold in escrow an amount equal to the funds on deposit at the
                   ZO Digital Wells Fargo account on August 14, 2021, when ZO
                   Digital was served with the Asset restraining Order. Field shall
                   deposit such funds on or before October 22, 2021.
                d. Field, on behalf of Zo Digital, shall turn over to Mullins all
                   documents identified in and responsive to the court’s restraining
                   order. Field shall turn over those documents on or before October
                   22, 2021.
                e. ZO Digital is barred from further objection until it has remedied
                   the defaults set out in this order.
      In re Malibu Media

      15.    At all times relevant to this matter, Malibu Media had the financial

means to satisfy the district court’s $48,656 judgment. Rather than pay, Malibu

Media chose to not cooperate in the captioned supplemental proceedings by producing

no documents, twice failing to appear for a debtor examination, and a third time

failing to appear despite the court ordering Pelissier to do so or face arrest. Malibu

Media deliberately failed on multiple occasions to disclose documents related to the

Epoch merchant account for X-Art.com and documents showing that it was diverting




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X-Art.com Proceeds to ZO Digital. Malibu Media has thus hindered, delayed, and

interfered with these proceedings.

      16.    Since the entry of judgment and the initiation of supplementary

proceedings, Malibu Media deliberately failed on multiple occasions to thwart the

weekly transfer of the X-Art.com Proceeds to ZO Digital. Malibu Media allowed

$83,210.64 to be diverted despite such transfers being specifically prohibited by the

citation to discover assets Mullins served on Malibu Media and subject to his

judgment lien.

      17.    Since the entry of judgment and the initiation of supplementary

proceedings, Malibu Media fired its counsel of record and has not obtained a

substitute, thus disabling itself from litigating in this district court. See United

States v. Hagerman, 545 F.3d 579 (7th Cir. 2008) (LLC litigates in district court only

with an attorney).

      18.    Based on the foregoing, Malibu Media is in default of multiple

obligations under the citation to discover assets.

      19.    Because of its default, Malibu Media is barred from further making any

objection in these proceedings unless and until Malibu Media: (1) appears by an

attorney; (2) restores all diverted funds, making those funds available for the

satisfaction of Mullins’ judgment; (3) produces all documents specified in the rider to

the citation to discover assets; and (4) makes Pelissier available for a debtor

examination at a time convenient to all parties. Furthermore, at a July 23, 2021,

hearing, this court ordered Colette Pelissier to appear in person for the Malibu Media



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citation examination and warned, “If you fail to appear [in Chicago] for that [citation

examination], without agreement from Mr. Stewart, then I'll issue a warrant for your

arrest. It’s that simple.” Pelissier without just cause failed to appear. The court

orders the issuance of a body attachment order for the arrest of Colette Pelissier, but

suspends that order for 14 days, until the next court status date of October 22, 2021,

at 10:00 a.m. At that time the court shall review Brigham Field’s and ZO Digital’s

compliance with the court’s Asset Restraining Order and determine whether the

suspension should remain in place or whether the court will vacate the suspension

and order execution of the body attachment order to arrest Pelissier.

      In re Attorney’s Fees

      20.    Pursuant to Local Rule 54.3(C), Mullins requests that the court provide

a briefing schedule and a short procedure for Mullins to present a motion for legal

fees that would also seek to amend the existing judgment in accord with any

allowance of additional fees. Pursuant to Fed R. Civ. P 54(d)(2)(C), Mullins further

requests that he be allowed to bifurcate his presentation, moving first for a finding of

legal liability and then, if successful, providing the court with a submission on the

value of those legal services.

      21.    Mullins is prepared to argue at least two legal bases for fees. First as an

extension of the law and logic of court’s memorandum opinion awarding Mullins fees

as a prevailing defendant under the Copyright Act. Dkt. 99 (relying upon 17 U.S.C.

§ 505). It makes no sense to award fees for frivolous filing made pre-judgment, if the

“judgment debtor” can thwart that judgment by continuing to act in bad faith, make



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frivolous and dilatory filings, and hide assets subject to the court’s judgment, lien,

and process.     Malibu Media’s continued intransigence and bad faith effectively

“taxed” Mullins and co-counsel whose reimbursement is net of the time, effort, and

expenses they must unnecessarily spend to achieve recompense in these proceedings.

      22.      Second, as a penalty for Pelissier’s violation of the transfer prohibition

of the citation. W. Bend Mut. Ins. Co. v. Belmont State Corp., 712 F.3d 1030, 1035

(7th Cir. 2013) (citing Mid-American Elevator Co. v. Norcon, Inc., 287 Ill. App. 3d 582,

591, 679 N.E.2d 387, 223 Ill. Dec. 202 (1996)). Pelissier violated the restraining

provision of the Malibu Media citation by repeatedly allowing the weekly transfers to

her husband’s company after being served with the citation.

      23.      . The judgment creditor has a good faith basis to seek additional fees,

as set forth in the court’s oral rulings on the Omnibus Motion. The court will provide

further direction as to any fee petition at a later date.

      24.      As provided in the law and as stated in the order itself, the injunctions

of the court’s Asset Restraining Order remain in effect; those injunctions are only

modified as specifically provided by this turnover order, and otherwise those

injunctions remain in full force until vacated.

      25.      This matter is set over for a telephonic status hearing on October 22,

2021, at 10:00 a.m. with details as provided by minute order. Dkt. 132.

                                         ENTERED:



 Date: October 12, 2021                       JUDGE THOMAS M. DURKIN



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